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PROPOSED ATTORNEY FOR DEBTOR


                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION


IN RE                                      §
                                           §
EVERYREADY SERVCIES, INC                   §       Case No. 20-30225
                                           §
DEBTOR                                     §

              EMERGENCY MOTION TO SELL PROPERTY OF THE ESTATE


       NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A WRITTEN
OBJECTION OR REQUEST FOR HEARING IS FILED WITH THE UNITED STATES
BANKRUPTCY CLERK, 1100 COMMERCE STREET, 12TH FLOOR DALLAS, TEXAS
75242, WITHIN TWENTY-ONE (21) DAYS FROM THE DATE OF THE FILING OF THIS
MOTION, UNLESS THE COURT, SUA SPONTE, OR UPON TIMELY APPLICATION OF
A PARTY IN INTEREST, SHORTENS OR EXTENDS THE TIME FOR FILING SUCH
OBJECTION OR REQUEST FOR HEARING.
       IF NO OBJECTION OR REQUEST FOR HEARING IS TIMELY FILED, THE
MOTION SHALL BE DEEMED TO BE UNOPPOSED AND THE COURT MAY ENTER
AN ORDER GRANTING THE RELIEF SOUGHT. THE COURT RESERVES THE RIGHT
TO SET ANY MATTER FOR HEARING.


TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

        COMES NOW, Everyready Services, Inc (“Everyready”), Debtor in the above styled and

numbered cause and files this its Emergency Motion to Sell Property of the Estate (“Emergency

Motion”) and would respectfully show unto the Court as follows:
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      1.    This Court has jurisdiction over this proceeding and the parties and property

            affected hereby pursuant to 28 U.S.C. §§1334 and 157. Consideration of the

            Emergency Motion constitutes a core proceeding as defined in 28 U.S.C.

            §157(b)(2)(A), (K), (M) and (O).

      2.    The Debtor commenced this proceeding on January 23,2020 by filing a voluntary

            petition under Chapter 11 of the United States Bankruptcy Code.        Since the

            filing of the petition, the Debtor has remained in possession of its assets and

            continued in operation of its business as a debtor-in-possession pursuant to 11

            U.S.C. §§1107 and 1108.

      3     The Debtor owns and operates a company that provides moving and storage

            facilities mainly to the interior design industry.

      4.    The Debtor assets consist mainly of the racking and related moving equipment

            and its list of customers.

      5.    The Debtor has determined it can no longer operate profitably, and has determined

            a sale of the on going business assets will be in the best interests of the Estate’s

            creditors.

      6.    The Debtor would show both before and after filing the case, the Debtor has

            attempted to market the assets to all parties it believes would have an interest in

            the assets.

      7.    The Debtor has received and offer to purchase the assets from CSMC LLC for a

            cash price of $90,000.

      8.    A true and correct copy of the offer is attached has Exhibit “A”.

      9.    Debtors would request that the Court allow the Debtors to sell the Property free
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               and clear of all liens claims and encumbrances and that the sales proceeds be

               placed into the Debtor in Possession account with all liens attaching to the

               proceeds and not to be distributed without further order of this court.

        WHEREFORE, PREMISES CONSIDERED, the Debtor would request this matter be set

down for an Hearing and that upon hearing, this Court enter and Order authorizing the Debtor’s

Sale of the Property, and for such other and further relief as the Debtor may show itself justly

entitled.


                                               Respectfully submitted,

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                                               By: _/s/ Eric Liepins____________
                                                       Eric A. Liepins, SBN 12338110
                                               PROPOSED ATTORNEY FOR DEBTOR

                                        Certificate of Service

        I hereby certify that a true and correct copy of the foregoing Motion was sent to all creditors
of the estate on this the 9th day of March 2020.


                                               ______/s/ Eric Liepins____________
                                               Eric A. Liepins
